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17                    UNITED STATES DISTRICT COURT FOR THE
18                       CENTRAL DISTRICT OF CALIFORNIA
                               SANTA ANA DIVISION
19
20    IN RE: VIZIO, INC., CONSUMER         Case No. 8:16-ml-02693-JLS (KESx)
      PRIVACY LITIGATION
21
                                           SECOND CONSOLIDATED
22    This document relates to:            COMPLAINT
23
      ALL ACTIONS                          Hon. Josephine L. Staton
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1          Plaintiffs Dieisha Hodges, Rory Zufolo, Mark Queenan,1 John Walsh, Chris
2    Rizzitello, and Linda Thomson on behalf of themselves and all others similarly situated,
3    allege the following against Defendants VIZIO, Inc.; VIZIO Holdings, Inc.; VIZIO
4    Inscape Technologies, LLC; and VIZIO Inscape Services, LLC (collectively referred to
5    as “VIZIO”) in this Consolidated Complaint:
6                    I.     INTRODUCTION AND SUMMARY OF CASE
7          1.     If you own a VIZIO Smart TV, Friday night movie night in the privacy of
8    your home is a surprisingly public affair. This is because VIZIO Smart TVs watch what
9    you’re watching while you’re watching it.
10         2.     VIZIO collects highly specific data about consumers’ viewing histories and
11   preferences through invasive software secretly installed on millions of its Smart TVs. It
12   then immediately discloses this data to advertisers and media content providers so they
13   can deliver targeted advertisements and content in real-time, or on a second-by-second
14   basis. These targeted ads and content are sent not just to the Smart TVs, but also to any
15   smartphones, tablets, PCs, or other devices within the home that share the same Internet
16   connection as the Smart TV.
17         3.     Monetizing consumer data is a critical part of VIZIO’s business plan. The
18   television market is saturated and highly competitive. VIZIO’s growth strategy hinges not
19   only on sales of its Smart TVs, but also on its ability to profit from the collection and
20   disclosure of a rich portfolio of consumer data, including personal viewing habits and
21   preferences, among other information.
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      Defendants have provided written consent via e-mail that Plaintiffs may amend the
25   consolidated complaint to add Mark Queenan as a named Plaintiff. Plaintiff Queenan’s
26   civil case is No. 8:17-cv-00462-JLS-KES (filed Mar. 15, 2017); he has filed a Notice of
     Related Case. Plaintiffs anticipate filing forthwith a stipulation and proposed order
27
     requesting leave to add Queenan as a named Plaintiff herein, and to list his underlying
28   case as a member case.
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1          4.     In essence, VIZIO’s business plan treats consumers as VIZIO’s very own
2    Nielsen family. The critical difference is that, unlike VIZIO consumers, Nielsen family
3    members agree to share their viewing habits and are paid for their participation.
4          5.     VIZIO single-handedly and deceptively created “a community of over 8
5    million VIZIO connected units, or VCUs,” referring to Internet-connected Smart TVs
6    that transmit data that is collected by VIZIO’s Inscape software.2
7          6.     This is community by conscription, not consent. The data collection
8    software—Smart Interactivity—is turned “on” by default. Consumers of VIZIO’s Smart
9    TVs are therefore automatically included in this community. No other major television
10   manufacturer—not Samsung, not LG Electronics— tracks users’ viewing habits unless
11   they affirmatively elect to share their sensitive information.
12         7.     Though consumers may turn off Smart Interactivity, VIZIO obscures that
13   option to discourage opt-outs. Even assuming consumers discovered that VIZIO was
14   collecting their viewing data and then managed to navigate the opt-out process, the opt-
15   out function was broken during much of the relevant time period. An independent
16   investigation by security software company Avast, published in the fall of 2015, found
17   that the “off” function was not operational “for months, if not years. That means
18   consumer data has been shared without consent for this entire span of time.”3
19         8.     VIZIO disclosed extensive consumer data to advertisers, data brokers, media
20   content providers, and other third parties. That information included viewing habits and
21   other information particularly useful to uniquely identify individuals. Such information
22   includes, but is not limited to, the online services a consumer visited and the presence of
23   a consumer’s other Internet-connected devices. VIZIO also collected and disclosed
24   consumers’ Internet Protocol (IP) addresses, media access control (MAC) addresses, and
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26     VIZIO Form S-1 Registration Statement, https://www.sec.gov/Archives/edgar/data/
     1648158/000119312515262817/d946612ds1.htm#toc946612_2 (last visited Aug. 11,
27   2016).
     3
28     Aaron McSorley, The Anatomy of an IoT Hack, https://blog.avast.com/2015/11/11/the-
     anatomy-of-an-iot-hack/#more-38414 (last visited Aug. 11, 2016).
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1    zip codes, among other information. This personally identifiable information can be used
2    to pinpoint a consumer’s physical location (i.e., “geolocation” information).
3          9.     VIZIO knows advertisers and data brokers can and do connect these dots.
4    And yet VIZIO falsely and deceptively tells consumers that the information it collects
5    and discloses along with viewing habits cannot be traced back to them. For instance, it
6    characterizes the information it discloses as “non-personal” or “anonymous” information
7    even though it uniquely identifies individuals and their viewing habits.
8          10.    Because a large number of opt-outs would threaten VIZIO’s ability to profit
9    from its Inscape data services business, VIZIO purposefully omits information about
10   Inscape data collection practices or Smart Interactivity in advertising, marketing, or
11   television packaging. VIZIO’s Smart TV packaging, for example, touts its
12   “connectivity,” by which it means the ability of the television to deliver programing
13   available through the Internet and also from cable and satellite providers, streaming
14   devices, and other connected media sources. Nowhere on its packaging, however, does
15   VIZIO tell consumers that it discloses to advertisers and data brokers their viewing
16   histories and information used to link them to their viewing histories. Neither does VIZIO
17   disclose this in advertising and marketing.
18         11.    Any reference to Inscape data services or Smart Interactivity which may (or
19   may not) be found in obscure sections of its website, in some (but not all) iterations of its
20   privacy policies, or pop-ups which appear on the television screen and then quickly
21   disappear, is not an adequate disclosure. Such disclosures are hard to find, tough to
22   understand, fleeting, or buried alongside other ads or messages to minimize their
23   significance and implications.
24         12.    Plaintiffs are consumers of VIZIO’s Smart TVs who did not consent to this
25   invasive data collection program. They bring this putative class action suit against VIZIO
26   to enforce their and other VIZIO owners’ privacy and consumer rights under federal and
27   state law.
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1          13.    The privacy violations occur because VIZIO has collected and disclosed
2    Plaintiffs’ sensitive viewing histories and personal information without their consent,
3    since at least May 2014. The movies or television consumers watch may reveal sensitive
4    information suggestive of their politics, religious views, or sexuality—in other words,
5    their most personal and intimate details. As Congress itself has recognized, “films are the
6    intellectual vitamins that fuel the growth of individual thought.”4 The “intimate process”
7    of “intellectual growth is one of privacy” which “should be protected from the disruptive
8    intrusion of a roving eye.”5 VIZIO has violated the federal and state privacy rights of its
9    consumers by, intercepting, collecting, and disclosing their sensitive viewing histories,
10   and information capable of linking them to their viewing histories, without their consent.
11         14.    In addition, VIZIO’s material omissions regarding its data collection and
12   dissemination programs and invasive tracking software are false, deceptive, and
13   misleading in violation of state consumer protection laws. This includes the unauthorized
14   collection and/or disclosure of information or data from a VIZIO Smart TV about the
15   content viewed on that television, as well as the collection, combining and/or disclosure
16   of data from a variety of sources such as product registration data; IP addresses; MAC
17   addresses; User IDs or other identifiers; geolocation or information that can be used to
18   derive geolocation; and reports or data derived therefrom or combined with such data.
19   Combined data can come from third parties, and other sources of VIZIO data such as data
20   collected by apps, smart phones, or other VIZIO products.
21         15.    This data and information was collected, combined, and/or disclosed to spy
22   on consumers’ viewing habits and to deliver targeted ads through televisions and across a
23   range of other electronic devices, as well as to determine the effectiveness of the ads. Had
24   Plaintiffs known the truth about VIZIO’s data collection and dissemination practices and
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       Committee Report, S. Rep. 100-599, at 7 (Oct. 21, 1988) (citing Senate Judiciary
28   Subcommittee on Technology and the Law, Hearing Tr. at 10 (Aug. 3, 1988)).
     5
       Id.
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1    tracking software, they would not have purchased Smart TVs or would have paid less for
2    them.
3            16.   These harms are independently actionable and justify the relief sought here,
4    including statutory damages, actual damages, and restitution. In addition, because VIZIO
5    continues to collect sensitive consumer data without consent and has not changed its
6    practice of automatically including consumers in the Inscape data collection program,
7    equitable relief, including an injunction, is appropriate here.
8                                          II.   PARTIES
9    A. Plaintiffs
10           17. Plaintiff Dieisha Hodges is a resident of Oakland, California. Ms. Hodges
11   purchased a VIZIO Smart TV, Model No. E550i-A0, in Oakland, California. Ms. Hodges
12   connected her VIZIO Smart TV to the Internet via a Wi-Fi connection shortly after
13   purchasing it, and used the Netflix, Hulu, and YouTube “apps” on the television to
14   stream video content. She also uses her Smart TV to watch cable provided by Xfinity.
15   Ms. Hodges connects her Smart TV to a PlayStation 3 and Google Chromecast. When
16   Ms. Hodges purchased her Smart TV, she was not aware that VIZIO would collect her
17   viewing data or other information and data identified herein or would disseminate that
18   information to third parties. After she learned of this by reading an online article, Ms.
19   Hodges tried to find a way to disable the tracking software on her television.
20           18. Plaintiff Rory Zufolo is a resident of Oxnard, California. Mr. Zufolo
21   purchased a VIZIO Smart TV, Model No. M552i-B2, in Oxnard, California. Mr. Zufolo
22   connected his VIZIO Smart TV to the Internet via a Wi-Fi connection shortly after
23   purchasing it and used the Netflix, Amazon, Hulu, and YouTube “apps” on the television
24   to stream video content. Mr. Zufolo also uses his Smart TV to watch cable provided by
25   Time Warner. Up until September 2015, he watched television provided by DirecTV. He
26   occasionally connects his Smart TV to a Xbox or PlayStation. When Mr. Zufolo
27   purchased his Smart TV, he was not aware that VIZIO would collect his viewing data or
28   other information and data identified herein or would disseminate that information to
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1    third parties. After he learned of this, he stopped using the television to stream videos
2    through Netflix and other apps.
3          19. Plaintiff Mark Queenan is a resident of Plantation, Florida. Mr. Queenan
4    purchased a VIZIO Smart TV, Model No. M55-C2, in Miami, Florida. Mr. Queenan
5    connected his VIZIO Smart TV to the Internet via a Wi-Fi connection shortly after
6    purchasing it, and used the Netflix and YouTube “apps,” among others, on the television
7    to stream video content. Mr. Queenan also connects his Smart TV to a DVD player and
8    cable box. When Mr. Queenan purchased his Smart TV, he was not aware that VIZIO
9    would collect his viewing data and other information and data identified herein or would
10   disseminate that information to third parties. After he learned of this on a local radio
11   news program, he proceeded to learn how to deactivate the data collection.
12         20. Plaintiff John Walsh is a resident of Boston, Massachusetts. Mr. Walsh
13   purchased a VIZIO Smart TV, Model No. E400i-B2, in Boston, Massachusetts. Mr.
14   Walsh connected his Smart TV to the Internet via an Ethernet cable connection shortly
15   after purchasing it, and used it to stream video content from the Netflix and YouTube
16   “apps.” Mr. Walsh also uses his Smart TV to watch cable provided by Comcast, and
17   connects his Smart TV to a DVD receiver that also has TiVo. When Mr. Walsh
18   purchased his Smart TV, he was not aware that VIZIO would collect his viewing data or
19   other information and data identified herein or would disseminate that information to
20   third parties. After he learned of this, he disconnected his Smart TV from the Internet in
21   order to prevent the collection of his viewing data. On January 13, 2016, Mr. Walsh,
22   through his counsel, sent VIZIO a written demand letter detailing the acts and practices
23   complained of herein and the injury suffered. VIZIO responded with a letter denying all
24   allegations.
25         21. Plaintiff Chris Rizzitello is a resident of Cairo, New York. Mr. Rizzitello
26   purchased a VIZIO Smart TV, Model No. M422I-B1, at a Walmart location in Catskill,
27   New York. Mr. Rizzitello connected his VIZIO Smart TV to the Internet via a Wi-Fi
28   connection shortly after purchasing it, and used the YouTube and other media apps to
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1    stream video content. Mr. Rizzitello also connects his Smart TV to a PlayStation 4 and
2    Raspberry PI3. When Mr. Rizzitello purchased his Smart TV, he was not aware that
3    VIZIO would collect his viewing data or other information and data as identified herein
4    or would disseminate that information to third parties. After he learned of this, he
5    stopped using the Smart TV to watch videos on the YouTube app, disconnected the
6    television from the Internet, and, when he learned he could do so, turned off the Smart
7    Interactivity feature.
8           22. Plaintiff Linda Thomson is a resident of Bellingham, Washington. Ms.
9    Thomson purchased a VIZIO Smart TV, Model No. M702iB3, in Bellingham,
10   Washington. Ms. Thomson connected her Smart TV to the Internet shortly after
11   purchasing it and has since used it to watch movies and television shows from the
12   Amazon app. She also uses her Smart TV to watch cable provided by Xfinity and/or
13   Comcast. When Ms. Thomson purchased her Smart TV, she was not aware that VIZIO
14   would collect her viewing data or other information and data as identified herein or
15   would disseminate that information to third parties. After she learned of this, she
16   refrained from using certain apps on her Smart TV. Shortly after she filed her lawsuit,
17   Ms. Thomson saw a message pop up on her Smart TV regarding privacy settings. The
18   message disappeared before should could read it through, and she has not found a way to
19   retrieve the message. She believes the message pertained to the privacy issues involved in
20   this case.
21          23. When shopping for their Smart TVs, Plaintiffs looked at the description of the
22   televisions provided on the boxes in which their VIZIO Smart TVs were packaged. The
23   packaging for the VIZIO Smart TVs described its features and indicated that the
24   televisions were equipped to deliver video content through the Internet and could display
25   content from cable and satellite providers, streaming devices, and other connected media
26   sources. The packaging, however, failed to inform Plaintiffs that if they took advantage
27   of those features or watched live broadcast programming on their Smart TVs, their
28   viewing data would be collected by VIZIO and disseminated to third parties. Had
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1    Plaintiffs known the truth about VIZIO’s collection and dissemination of Plaintiffs’
2    viewing data, Plaintiffs would not have purchased, or would have paid less for, their
3    VIZIO Smart TVs.
4           24. At no time did Plaintiffs consent to having their viewing information, and
5    other personally identifying data or information from their Smart TVs or other electronic
6    devices, collected or disseminated to third parties.
7    B. Defendants
8           25. Defendant VIZIO, Inc. is a California corporation that maintains its principal
9    place of business at 39 Tesla, Irvine, California. VIZIO, Inc. is registered to conduct
10   business in California. VIZIO, Inc. designs, markets, and distributes for sale consumer
11   electronic devices, including Smart TVs, throughout the United States, including in this
12   District.
13          26. Defendant VIZIO Holdings, Inc. is a Delaware corporation that maintains its
14   principal place of business at 39 Tesla, Irvine, California.
15          27. Defendant VIZIO Inscape Technologies, LLC, formerly known as Cognitive
16   Media Networks, Inc., is a Delaware corporation that maintains its principal place of
17   business at 39 Tesla, Irvine, California. VIZIO Inscape Technologies, LLC conducts
18   business throughout the United States, including in this District.
19          28. Defendant VIZIO Inscape Services, LLC is a Delaware corporation that
20   maintains its principal place of business at 39 Tesla, Irvine, California. VIZIO Inscape
21   Services, LLC is registered to conduct business in California.
22          29. Defendants acted as one, jointly, collectively, or in concert unless a particular
23   Defendant is identified by its full name.
24                             III.   JURISDICTION AND VENUE
25          30. This Court has jurisdiction over the subject matter of this action pursuant to
26   28 U.S.C. § 1331, as this action arises under a federal statute. This Court has
27   supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
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1          31. This Court also has jurisdiction over this action pursuant to the Class Action
2    Fairness Act, 28 U.S.C. § 1332(d), because: (i) at least one Plaintiff is a citizen of a
3    different state than the Defendants; (ii) the amount in controversy exceeds $5,000,000;
4    and (iii) there are at least 100 individuals in the putative class that Plaintiffs seek to
5    represent through this action.
6          32. This Court has personal jurisdiction over Defendants because Defendants
7    regularly conduct business in California, are present and licensed to conduct business in
8    California, and because the events giving rise to this lawsuit occurred, in substantial part,
9    in California.
10         33. Venue is proper in this District pursuant to 28 U.S.C. 1391(b) because
11   Defendant VIZIO is headquartered in this District, Defendants conduct substantial
12   business in this District, and a substantial part of the events giving rise to Plaintiffs’
13   claims occurred in this District.
14                               IV.     FACTUAL ALLEGATIONS
15                                             Smart TVs
16         34. Since the mid-2000s, Smart TVs have become increasingly popular in the
17   United States. A Smart TV is essentially a technological cross between a computer and a
18   television. Aside from the traditional function of a television set, a Smart TV is also
19   equipped with integrated software applications that allow users to access the Internet, and
20   on-demand services such as Netflix, Hulu, and Pandora, and other online media content,
21   such as Facebook and Twitter.
22         35. Although Smart TVs are more expensive than traditional television sets,
23   Smart TVs are popular because they are equipped to deliver movies and television shows
24   on an on-demand basis, including programming that may not be conventionally available
25   (e.g., broadcast on network or cable television).
26                                     VIZIO’s Business Platform
27         36. VIZIO is a consumer electronics company headquartered in Irvine, California.
28   Since its founding in 2002, it has sold over 65 million television and audio sets. VIZIO
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1    sells its products in over 8,000 retail stores throughout the United States, including large
2    chains such as Costco, Sam’s Club, Walmart, and Best Buy. In 2014, it held the second-
3    largest market share of Smart TVs in the country.
4          37. VIZIO has developed a business platform that rests on three pillars.
5          38. The first is its line of connected entertainment products, which include Smart
6    TVs and audio products.
7          39. The second is its discovery and engagement software, called either VIZIO
8    Internet Apps (and Apps Plus) or SmartCast, which delivers video and audio content.
9          40. The third is Inscape data services, which uses automatic content recognition
10   technology to capture, in real time, up to 100 billion viewing data points each day from
11   over 8 million VIZIO Smart TVs. VIZIO calls its automatic content recognition
12   technology “Smart Interactivity.”
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22         41. According to VIZIO, there is a market opportunity for audience and
23   advertisement measurement. In 2014, the total global market spent on the industry was
24   approximately $1.9 billion. Competitors in the market for viewing behavior data and
25   analysis include well-established companies such as A.C. Nielsen and Rentrak.
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12            42. VIZIO believes the principal competitive factors impacting the market for its
13   Inscape data services are the quality and accuracy of its data, the timeliness of its data,
14   and the amount and level of detailed information and insight its data provides.
15   “Advertisers and media content providers are looking for access to accurate, real-time
16   data regarding consumer preferences and behaviors so they can better measure and
17   increase their return on content creation and advertising spend.”6 VIZIO has partnered
18   with media and analytics companies to provide them with “actionable viewership
19   insights” collected and delivered in real time to “create more relevant, personalized
20   entertainment experiences and drive further engagement.”7
21            43. To monetize its data collection platform, VIZIO has developed partnerships
22   with advertisers, media content and analytics providers, and brands. VIZIO’s business
23   growth is, by its own account, highly dependent on the success of its Inscape data
24   services. VIZIO has sought to distinguish itself from market competitors such as Nielsen
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26   6
      VIZIO Form S-1 Registration Statement at 90, https://www.sec.gov/Archives/edgar/
27   data/1648158/000119312515262817/d946612ds1.htm#toc946612_2 (last visited Aug.
     11, 2016).
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         Id. at 7.
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1    by designing its Inscape data services to provide data of such quantity and quality to be
2    highly valuable to advertisers. According to VIZIO, its current user base of 8 million
3    Smart TVs reflects U.S. census demographics and provides more accurate viewing
4    behavior data in real time than any other brand.
5            VIZIO’S Collection and Dissemination of Viewing Histories and Personally
6                   Identifiable Information Is Critical to Its Business Model
7          44. For the years 2013, 2014, and through the third quarter of 2015, VIZIO’s
8    reported net income was $25.7 million, $45.0 million, and $44.3 million, respectively.6
9    VIZIO generates billions of dollars in annual revenues, demonstrating that it has slim
10   margins. VIZIO attributes a substantial portion of its net income to sales of its Smart
11   TVs. To make up for these slim margins, VIZIO sought to develop a new source of
12   revenue by monetizing the viewing habits of its millions of customers and selling that
13   information to advertisers without adequately disclosure to its customers.
14         45. VIZIO has recognized the threat to its business model that exists if consumers
15   were to understand its tracking software. In an October 2015 filing with the Securities
16   and Exchange Commission regarding its initial public offering, VIZIO revealed its
17   concern that its customers might react negatively to the surreptitious collection of their
18   data: “Our customers may also object to or opt out of the collection and use of their data,
19   which may harm our business.”
20                       VIZIO’s Data Collection Software and Program
21         46. Discovery and engagement software. VIZIO delivers video content through
22   VIZIO Internet Apps, Internet Apps Plus, and SmartCast. This software allows
23   consumers to access programming available on Netflix, Hulu, YouTube, and Amazon
24   Instant Video, among others. VIZIO Internet Apps, Internet Apps Plus, and SmartCast
25   are software that are pre-installed on the television or installed through software updates.
26   In turn, Netflix, Hulu, YouTube and Amazon Instant Video and the like are entertainment
27   companies that create, produce, or license video programming either for free, for rent, or
28   as part of a paid subscription.
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1          47. The VIZIO Internet Apps and Internet Apps Plus user interface displays a
2    streamlined App Launcher that allows users to select available programming. The app
3    may also be accessed through the VIZIO Smart TV remote.
4          48. Certain VIZIO Smart TVs use “SmartCast” to deliver movies, TV shows, live
5    streams and more across multiple apps at once. SmartCast is VIZIO’s latest delivery
6    engagement software. It can be used on a tablet remote that comes with the television.
7    This technology allows a user to watch programming on the tablet remote, or to “cast,” or
8    display, content from the tablet remote to the television display or speakers.
9          49. This software is also available for use on a smartphone through the VIZIO
10   SmartCast App, which is available for download for free from the Apple App Store or
11   Google Play. This technology also “casts” content from a smartphone to the Smart TV.
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1               50. Inscape data services. Inscape captures real-time viewing behavior data from
2    VIZIO Smart TVs—up to 100 billion viewing data points each day—thereby enabling
3    VIZIO to provide this “broader data set, at scale and with real-time delivery,” to
4    advertisers and media content providers, who in turn delivered and re-targeted
5    advertisements.8 Ad re-targeting is the process of pushing ads to consumers based on
6    their previous interactions with that ad, in situations where the consumers’ first view of
7    the ad did not result in a sale or conversion.
8               51. This data program is powered by automatic content recognition (ACR)
9    technology, which is designed to recognize attributes of the content being displayed on
10   VIZIO Smart TVs and match those attributes to a database of existing content, such as
11   movies, TV shows, and games.
12              52. A patent filed by Cognitive Networks, Inc. provides that in order to
13   accomplish its “goal, the processing means within the TV device itself, or an associated
14   device such as a set-top box, needs to have real time ‘awareness’ of what programming is
15   being displayed on the TV screen at that moment.”9 The technology “takes samples of
16   the programming actually being displayed on that TV at any point in time and sends the
17   fingerprints of those samples to the centralized fingerprint matching server to compare
18   against already existing fingerprints in the database.”10
19              53. This second-by-second capture, collection, and analysis of content is required
20   for “ACR detection [to operate] sufficiently fast for providing at least some context-
21   sensitive content substantially simultaneously with at least one targeted video.”11
22   Cognitive Networks’ ACR technology is capable of collecting, analyzing, and delivering
23   such data “even when the television display is showing content where a user is changing
24
25   8
         Id. at 97.
26   9
         U.S. Patent No. 9,071,868 (issued Jun. 30, 2015).
27   10
          Id.
28   11
          Id.
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1    channels, rewinding, fast-forwarding or even pausing video from a digital video
2    recorder.”12 In fact, the technology can be used to collect and analyze data about what a
3    viewer is about to be watching, “eliminat[ing] essentially all . . . delay by using a system
4    and method that anticipates the arrival of a specific advertisement of interest so that the
5    various required processes to confirm the arrival of the segment and locally generate and
6    display the relevant graphics may be initiated slightly in advance of the actual arrival of
7    the video segment of interest.”13 Such instantaneous delivery is, of course, the point of
8    the technology—maximizing the relevant content and advertising provided to consumers
9    in real-time.
10            54. VIZIO calls its ACR technology “Smart Interactivity.” Smart Interactivity
11   software was designed by Cognitive Media Networks, Inc. VIZIO acquired Cognitive
12   Media in August 2015.
13            55. Using Smart Interactivity software, the Inscape program is able, second-by-
14   second or instantaneously, to collect, analyze, and deliver data regarding most content
15   displayed on VIZIO Smart TVs, including content from cable and satellite providers,
16   streaming devices, and gaming consoles. It is also able to aggregate and store such data.
17   In fact, Inscape collects viewing data behavior from all media sources that connect via
18   external input to the Smart TVs—for example, set top boxes, digital video recorders,
19   streaming media players, Blu-ray and DVD players and gaming consoles.
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27   12
          U.S. Patent No. 9,055,335 (issued Jun. 9, 2015).
28   13
          U.S. Patent No. 9,055,309 (issued Jun. 9, 2015).
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13          56. As depicted above, VIZIO’s data collection includes, but is not limited to,
14   data related to publicly available content displayed on VIZIO Smart TVs, such as the
15   identity of a broadcast, cable, or satellite television provider, and the television programs
16   and commercials viewed (including time, date, channel, and whether they were viewed
17   live or at a later time).
18          57. There is no lag time or delay between when data from (for example) a set-up
19   cable box arrives at the Smart TV and when it is transmitted to the Inscape platform; the
20   data is automatically captured and sent within the same second that it is displayed.
21          58. Inscape also collects consumers’ IP addresses (which are unique identifiers
22   assigned to personal digital devices such as laptops, tablets, and Smart TVs), zip codes,
23   and online services visited by the consumer, as well as MAC addresses, Wi-Fi access
24   points and signal strength, product model numbers, hardware and software versions,
25   chipset IDs, and region and language settings, among other information. In turn, this
26   information can be used to learn even more about the user, including demographic details
27   such as age, profession, and wealth indicators.
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1          59. For SmartCast users, Inscape collects the above and also: (1) information
2    about what video or audio is currently playing on the Smart TV, tablet remote, or mobile
3    phone using the SmartCast App; and (2) programming choices requested, the date and
4    time of these choices, user-initiated searches, content consumers browse while using the
5    SmartCast tablet, or other commands communicated to the SmartCast Products through
6    the SmartCast App.
7          60. SmartCast app users may create a myVIZIO account or log into an existing
8    myVIZIO/Fandemonium account.
9          61.    For SmartCast users, VIZIO associates the data collected with any myVIZIO
10   account profile, which includes a first and last name and e-mail address.
11         62. VIZIO then discloses the associated data described above along with other
12   data to advertisers and data brokers, and other third parties, including its partners.
13                                       Smart Interactivity
14         63. VIZIO initiated the Smart Interactivity feature in or about February 2014
15   through an “over-the-air” update. It also began pre-installing Smart Interactivity software
16   on its Smart TVs in or around that same time.
17         64. Unlike its competitors, VIZIO’s default policy is to turn on this data
18   collection feature on all of its Smart TVs.
19         65. This default ‘on’ setting differentiates VIZIO from competing television
20   manufacturers such as Samsung and LG Electronics, who only track users’ viewing
21   habits if users voluntarily turn the feature on. Unless a Samsung or LG consumer opts
22   into the data collection program, those companies will not collect the consumer’s
23   personal viewing histories. VIZIO consumers, by contrast, must opt out of the data
24   collection feature to avoid having their personal viewing habits collected.
25         66. In its Prospectus, VIZIO brags about the scope and detail of the data collected
26   and sold and its potential advertising profits as follows:
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           Our Inscape data services capture, in real time, up to 100 billion
28         anonymized viewing data points each day from our over 10 million
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           VCUs [(VIZIO connected units)]. Inscape collects, aggregates and stores
1          data regarding most content displayed on VCU television screens,
2          including content from cable and satellite providers, streaming devices
           and gaming consoles. Inscape provides highly specific viewing behavior
3          data on a massive scale with great accuracy, which can be used to
4          generate intelligent insights for advertisers and media content providers
           and to drive their delivery of more relevant, personalized content through
5          our VCUs.
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7          67. VIZIO refers to the information it surreptitiously collects as “Non-Personal
8    Information,” which VIZIO describes as “data in a form that does not, on its own, permit
9    direct association with any specific individual.” As alleged, this includes, but is not
10   limited to, the IP addresses products that are assigned to users’ internet-connected
11   devices, their zip codes, the online services they visit, information about their VIZIO
12   products (such as MAC addresses, product model numbers, hardware and software
13   versions, chipset IDs, and region and language settings), as well as information about the
14   products users request or purchase, the presence of other devices connected to their local
15   networks, and the number of users and frequency of use of VIZIO products and services.
16   VIZIO also collects “anonymous information regarding customer activities on our
17   websites, on Internet-connected products and services, and on VIZIO’s Internet store.
18         68.    Although VIZIO claims that the information collected is non-personal,
19   technical experts have challenged this characterization. For example, Extreme Tech’s
20   website contains the following excerpt from an article authored by Joel Hruska on
21   November 10, 2015.
22         “Non-personally identifiable information” is a contradiction in terms,
23         particularly when the companies in question have access to mobile data.
           The entire point of VIZIO’s advertising push is to sell this information to
24         companies so they can track you on multiple devices. In order to do that,
           they’re going to need to find those devices. If an advertiser can pick up on
25         the fact that you watch, say, Arrow in order to send you ads enticing you
26         to watch The Flash, then that advertiser effectively knows who you are.14
27
      Joel Hruska, "Vizio TVs Caught Tracking Viewing Habits, Selling Data to
     14

28   Advertisers." ExtremeTech (Nov. 10, 2015) (available at
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1          69. If a consumer wanted to opt out, that option was not functional for a
2    considerable period of time during the relevant time period. According to an independent
3    investigation by security software company Avast, published in the fall of 2015, the “off”
4    function was not operational “for months, if not years. That means consumer data has
5    been shared without consent for this entire span of time.”15
6          70. If a VIZIO Smart TV is ever reset to factory settings, either intentionally or
7    inadvertently through an update or power failure, the TV will return to its default settings,
8    thereby reactivating the Smart Interactivity feature.
9          71. Although intending to profit from selling personal information to third parties
10   without consent, VIZIO itself recognized potential privacy law concerns. VIZIO stated
11   the following:
12         We collect, process, store, use and to some extent disclose information
13         collected from or about purchasers and users of our products, and from
           the devices themselves. The collection and use of personal
14         information, and analysis and sharing of anonymous user data and
           unique identifiers to inform advertising or analyze viewing behaviors
15         subject us to legislative and regulatory burdens, may expose us to
16         liability, and our actual or perceived failure to adequately protect
           consumer data could harm our brand, our reputation in the marketplace
17         and our business.
18         Privacy laws and regulations, if drafted or interpreted broadly, could be
19         deemed to apply to the technologies we use to collect, analyze and
           share viewing behaviors or other data collected from our Smart TVs or
20         consumers, and could restrict our information collection methods or
21         decrease the amount and utility of the information that we would be
           permitted to collect and share. . . . In addition, a determination by a
22         court or government agency that any of our practices, or those of our
           agents, do not meet these standards could result in liability, or result in
23         negative publicity, and adversely affect our business.
24
25   http://www.extremetech.com/internet/217762 viziotvs-caught-tracking-viewing-habits-
26   selling-data-to-advertisers) (emphasis in original)
     15
        Joel Hruska, New Vizio hack reveals company shares your data whether you accept its
27   privacy policy or not, http://www.extremetech.com/extreme/217923-new-vizio-hack-
28   reveals-company-shares-your-data-whether-you-accept-its-privacy-policy-or-not (last
     visited Aug. 11, 2016).
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      VIZIO Knows the Information It Discloses Identifies Individual Viewers and Their
1                                    Viewing Habits
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3          72.    As discussed, the consumer data VIZIO discloses to advertisers, data
4    brokers, media content providers, and other third parties, such as its partners, includes
5    viewing habits and information which identifies individuals. This information reveals
6    sensitive geolocation information and is personally identifying.
7          73.    MAC addresses, for example, are unique 12-digit identifiers that are
8    assigned to individual mobile devices, computers, Smart TVs, or other electronic devices.
9    These addresses are tied to the devices’ physical embedded chipsets and thus are
10   persistent throughout the life of the device. MAC addresses are automatically broadcast
11   when devices search for networks or communicate with other devices.
12         74.    MAC addresses often can be linked to individuals by name. For example,
13   when you sign into a commercial Wi-Fi hotspot, your MAC address is tied to the
14   information you use to sign up for the service. Additionally, automatic Wi-Fi probes also
15   broadcast the names of the last networks a device has connected to, which can reveal
16   additional information about the individual, such as the name of a home or work network.
17         75.    MAC addresses can be used to develop highly specific geolocation data. For
18   example, retail analytics firms have used MAC addresses to pinpoint customer
19   locations—a practice which the Federal Trade Commission (“FTC”) has investigated.
20         76.    When VIZIO collects and discloses MAC addresses of all the devices that
21   connect to the same network as a VIZIO Smart TV, along with IP addresses, Wi-Fi signal
22   strength, nearby Wi-Fi access points, zip codes, the online services consumers visit, the
23   presence of other devices connected to the consumer’s local network, the number of users
24   and frequency of use of VIZIO products and services, and other information, such as a
25   persistent identifier for each television (which is a unique number for each third party),
26   the disclosure provides a “game plan” to associate individuals with their viewing habits.
27         77.    Also, VIZIO provides third parties with data and information from other
28   electronic devices on the same network, so that third parties can target consumers with

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1    ads through their televisions or other digital devices. VIZIO also provides this data and
2    information to third parties so they can analyze individual consumer behavior, such as
3    responsiveness to targeted advertising, across a range of other personal devices that
4    connect to the Internet. For instance, VIZIO provides third parties with data and
5    information specific to consumers’ viewing habits and their individual televisions so that
6    these third parties can determine whether a consumer has visited a particular website
7    following a television advertisement related to that website, or whether a consumer has
8    viewed a particular television program following exposure to an online advertisement for
9    that program.
10         78.    Consumers did not consent to this invasive monitoring or data collection
11   program, including the collection and/or disclosure of information or data from a VIZIO
12   Smart TV about the content viewed on that television, as well as the collection,
13   combining and/or disclosure of data from a variety of sources such as product registration
14   data; IP addresses; MAC addresses; User IDs or other identifiers; geolocation or
15   information that can be used to derive geolocation; and reports or data derived therefrom
16   or combined with such data.
17         79.    For SmartCast consumers, the association of myVizio account information,
18   which includes first and last name and e-mail addresses along with viewing data and
19   other personal information, makes it especially easy for third parties to associate viewing
20   habits and other consumer behavior with actual persons.
21         80.    Though VIZIO falsely and misleadingly informs consumers that it provides
22   only non-personal or anonymized information, and that viewing data cannot be linked to
23   actual individuals, VIZIO knows that individuals and their viewing histories can be, and
24   are easily being, identified and linked by the information VIZIO discloses.
25         81.    In fact, individuals can be identified with far less information than what
26   VIZIO discloses. A groundbreaking study published in 2000 revealed that three pieces of
27   information—zip code, birth date (including year), and sex—uniquely identified 87
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1    percent of the U.S. population.16 Other studies have found similarly high rates of
2    identification.17
3           82.    At least since 2006, video service providers and data aggregators have
4    known that the disclosure of viewing data not associated with individual names can
5    nevertheless be associated with specific individuals. That year, Netflix released a data set
6    representing the movies rated by over 480,000 Netflix customers and the date each rating
7    was given. In an apparent effort by Netflix to anonymize the data, the company replaced
8    customers’ names with unique numbers and did not include addresses, phone numbers, or
9    other direct identifiers.18
10          83.    Netflix released the data “as part of its Netflix Prize 1 contest (“Prize 1”),
11   through which researchers competed to improve the algorithm Netflix uses to recommend
12   movies to its subscribers. Netflix’s algorithm takes into account past viewing habits and
13   movie preferences of each of its subscribers.”19
14          84.    Following the release of this data set, two researchers at the University of
15   Texas announced that it was possible to identify a significant number of subscribers
16   based on the data set released.20 Using publicly-available movie reviews posted by
17   Netflix subscribers on the popular site IMDb (www.imdb.com), “one could determine all
18   of the Netflix movies that a subscriber had rated for a given period of time.”21 By way of
19   16
        Latanya Sweeney, Uniqueness of Simple Demographics in the U.S. Population,
20   Carnegie Mellon University, School of Computer Science, Data Privacy Laboratory,
21   Technical Report LIDAP-WP4 (2000).
     17
        Philippe Golle, Revisiting the Uniqueness of Simple Demographics in the US
22   Population, ACM Workshop on Privacy in the Elec. Society at 77, 78 (2006).
     18
23      March 12, 2010 Letter from Maneesha Mithal to Reed Freeman,
     https://www.ftc.gov/sites/default/files/ documents/closing_letters/netflix-inc.
24   /100312netflixletter.pdf (last visited Aug. 11, 2016).
     19
25      Id.
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26      Arvind Narayanan & Vitaly Shmatikov, Robust De-anonymization of Large Sparse
     Datasets, Proceedings of the 2008 IEEE Symposium on Security and Privacy at 111-123
27   (hereinafter “Netflix Prize Study”), https://www.cs.utexas.edu/~shmat/shmat_oak08
28   netflix.pdf (last visited Aug. 11, 2016).
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        Mithal Letter, supra note 8.
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1    example, the researchers were able to identify one user’s movie choices, which may
2    suggest facts about his or her politics (“Fahrenheit 9/11”), religious views (“Jesus of
3    Nazareth”), or sexual preference (“Queer as Folk”).
4          85.    Netflix nevertheless announced a second Prize contest in 2009. This time it
5    planned to release an even more comprehensive data set of viewing habits and
6    demographic information. In response, a group of Netflix customers filed a class action
7    lawsuit, and the FTC warned Netflix that the second Prize contest raised privacy concerns
8    as well as questions regarding whether its representations to consumers about its privacy
9    policies were false or misleading under federal law. Netflix ultimately settled the private
10   suit and agreed not to proceed with the contest as planned.
11         86.    VIZIO thus knows that third parties to whom it discloses this information,
12   which includes its partners, can and do connect these dots. The linkage between viewing
13   data and individuals is firm and readily foreseeable to VIZIO, in particular because the
14   information it discloses is effectively a correlated look-up table, complete with
15   geolocation data.
16         87.    As discussed, VIZIO has acknowledged to investors, but not consumers, that
17   its activities may violate various privacy laws and regulations: “[W]e cannot assure you
18   that our privacy policies and other statements regarding our practices will be sufficient to
19   protect us from liability or adverse publicity relating to the privacy and security of
20   information about consumers or their devices.” Further, VIZIO has informed investors
21   that it may be the subject of litigation over these practices.
22    VIZIO’s Product Packaging, Advertising, Marketing, Website, and Privacy Policy
23                   Omit Material Information and Are Misleading
24         88.    In advertising and marketing, and on product packaging, VIZIO promotes
25   the connectivity of its Smart TVs in two critical ways. First, it tells consumers that its
26   Smart TVs have built-in Wi-Fi and are Internet-enabled, and that its VIZIO Internet Apps
27   (and Apps Plus), and SmartCast are a “passport to a world of entertainment, movies, TV
28   shows and more.” Next, it tells consumers its Smart TVs are “perfect for connecting all

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1    your high definition entertainment devices to the TV.” This feature is often promoted
2    through pictures of HDMI and USB ports.
3          89.    But VIZIO does not disclose that if consumers take advantage of those
4    features and/or watch live broadcast programming on their Smart TVs, their viewing data
5    will be collected by VIZIO and disseminated to third parties.
6          90.     While the packaging on VIZIO’s Smart TVs describe its features and
7    indicate that the televisions are equipped to deliver video content through the Internet and
8    can display content from cable and satellite providers, streaming devices, and other
9    connected media sources, the packaging fails to inform (let alone adequately inform)
10   consumers that if they take advantage of the TV’s connectivity platform, their viewing
11   data and personal information will be collected and shared with others.
12         91.    Neither is Smart Interactivity and Inscape data services disclosed, let alone
13   adequately disclosed, during the set up process for VIZIO Smart TVs. On the televisions
14   themselves, any reference to Smart Interactivity is deeply embedded in an obscure
15   settings menu. This reference is displayed in small font that is limited to a fraction of the
16   screen size. This reference does not explain what Smart Interactivity is. A consumer
17   would have no reason to know to turn it off.
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1          92.      Also, on the televisions, Smart Interactivity and Inscape are not adequately
2    disclosed in any Privacy Policy which may be viewed on the screen. The Privacy Policy
3    is buried within the “Reset & Admin” section of a Smart TV’s settings menu, and is
4    presented in extremely small font size.
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20         93.      Smart Interactivity and Inscape are not adequately disclosed in marketing or
21   advertising on VIZIO’s website, either. VIZIO’s website touts its Smart TVs connectivity
22   but does not disclose that VIZIO will collect and disseminate viewing habits and personal
23   information upon connection. In fact, Smart Interactivity and Inscape data services are
24   conspicuously absent from VIZIO’s online advertising for its entire M-Series and P-
25   Series line.
26         94.      To find any mention of Smart Interactivity on VIZIO’s website, a consumer
27   would have to know to look for that term. What a consumer would find is VIZIO’s
28   statement that “Smart Interactivity intelligently recognizes the content on the screen in
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1    order to determine which interactive features to display on your device. This allows
2    viewers to enjoy additional, related content for a richer, more interactive TV experience.”
3    This statement is misleading and confusing in that it suggests that the collection and
4    dissemination of viewing histories is for the benefit of the user, rather than a source of
5    revenue for VIZIO, and does not disclose what Smart Interactivity actually does.
6          95.    VIZIO’s privacy policies have been updated over time and are available on
7    its website. In all iterations in which VIZIO discusses its data collection practices, its
8    statements omit material information.
9          96.    VIZIO falsely and deceptively tells consumers in its privacy policy that the
10   information it discloses along with viewing habits cannot be traced back to consumers. It
11   characterizes the information it discloses as “non-personal” or “anonymous” even though
12   the information is useful for uniquely identifying individuals and their viewing habits.
13         97.    Relatedly, VIZIO also fails to adequately inform consumers about its data
14   collection program, including that viewing data and personally identifiable information is
15   being disclosed to third parties. The information disclosed is valuable and useful
16   precisely because it is not anonymous but instead is personally identifying. VIZIO does
17   not properly disclose that it sells this information to third party advertisers and data
18   brokers.
19         98.    VIZIO gives consumers a false sense of security when it informs them it
20   ‘hashes’ (i.e., transforms a string of characters into a shorter, fixed-length value that
21   represents the original string) and replaces parts of IP addresses before sharing them with
22   media and analytics partners. The FTC has criticized hashing as ineffective because it is
23   so easy to circumvent. “Free precomputed tables of known hashes (i.e., rainbow tables)
24   are available that make reversing known hashes practically instantaneous.”22 Also,
25   hashing generates a unique number that can be used to identify a device throughout its
26
27   22
       Ashkan Soltani, Privacy trade-offs in retail tracking, Federal Trade Commission:
28   Tech@FTC Blog (Apr. 30, 2015, 11:59 AM), https://www.ftc.gov/news-
     events/blogs/techftc/2015/04/privacy-trade-offs-retail-tracking.
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1    lifetime and is a process that can easily be reversed. Though VIZIO tells consumers in
2    certain privacy policies that it takes measures to ensure that the data it discloses is
3    securely transmitted, in or around 2015, Avast security discovered that the information
4    transmitted to Cognitive Networks was being transferred insecurely because of a “known
5    exploit” in the software. According to VIZIO, that exploit was closed when the software
6    was updated in 2015.
7            99.   Even today, Smart Interactivity and Inscape data services are also
8    conspicuously absent from VIZIO’s online advertising for entire product lines. VIZIO’s
9    website touts its Smart TVs connectivity but does not disclose that VIZIO will collect and
10   disseminate viewing habits and personal information upon connection.
11           100. Any reference to Inscape data services or Smart Interactivity which may (or
12   may not) be found in obscure sections of its website, in some (but not all) iterations of its
13   privacy policies, or pop-ups which appear on the television screen and then quickly
14   disappear, are not adequate disclosures because they are hard to find, tough to
15   understand, fleeting, or buried alongside other ads or messages in order to distract from
16   the disclosures.
17           101. This includes a pop-up notification that appeared on some televisions in
18   March 2016, which obliquely referenced the collection of television viewing data. The
19   pop-up disappeared after 30 seconds without any input from any household member who
20   may or may not have been watching, and did not provide easy access to the settings
21   menu.
22                            V.    CLASS ACTION ALLEGATIONS
23           102. Pursuant to Rules 23(a), 23(b)(2), or 23(b)(3) of the Federal Rules of Civil
24   Procedure, Plaintiffs bring this class action on behalf of themselves and all Members of
25   the Nationwide Class (the “Nationwide Class”), which shall initially be defined as:
26           All individuals in the United States who purchased a VIZIO Smart TV with Smart
27           Interactivity capability for personal or household use, and not for resale, during the
             applicable statute of limitations period.
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1          103. Additionally, or in the alternative, pursuant to Rules 23(a), 23(b)(2), or
2    23(b)(3) of the Federal Rules of Civil Procedure, Plaintiffs bring this class action on
3    behalf of themselves and all Members of the California Class (the “California Class”),
4    which shall initially be defined as:
5          All persons in California who purchased a VIZIO Smart TV with Smart
           Interactivity capability for personal or household use, and not for resale,
6          during the applicable statute of limitations period.
7
8          104. Additionally, or in the alternative, pursuant to Rules 23(a), 23(b)(2), or
9    23(b)(3) of the Federal Rules of Civil Procedure, Plaintiffs bring this class action on
10   behalf of themselves and all Members of the New York Class (the “New York Class”),
11   which shall initially be defined as:
12         All persons in New York who purchased a VIZIO Smart TV with Smart
13         Interactivity capability for personal or household use, and not for resale,
           during the applicable statute of limitations period.
14
15         105. Additionally, or in the alternative, pursuant to Rules 23(a), 23(b)(2), or
16   23(b)(3) of the Federal Rules of Civil Procedure, Plaintiffs bring this class action on
17   behalf of themselves and all Members of the Florida Class (the “Florida Class”), which
18   shall initially be defined as:
19         All persons who purchased a VIZIO Smart TV with Smart Interactivity
20         capability in Florida for personal or household use, and not for resale, during
           the applicable statute of limitations period.
21
22         106. Additionally, or in the alternative, pursuant to Rules 23(a), 23(b)(2), or
23   23(b)(3) of the Federal Rules of Civil Procedure, Plaintiffs bring this class action on
24   behalf of themselves and all members of the Massachusetts Class (the “Massachusetts
25   Class”), which shall be initially defined as:
26         All persons who purchased a VIZIO Smart TV with Smart Interactivity
27         capability in Massachusetts for personal or household use, and not for resale,
           during the applicable statute of limitations period.
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1          107. Additionally, or in the alternative, pursuant to Rules 23(a), 23(b)(2), or
2    23(b)(3) of the Federal Rules of Civil Procedure, Plaintiffs bring this class action on
3    behalf of themselves and all Members of the Washington Class (the “Washington
4    Class”), which shall initially be defined as:
5          All persons who purchased a VIZIO Smart TV with Smart Interactivity
           capability in Washington for personal or household use, and not for resale,
6          during the applicable statute of limitations period.
7          108. Excluded from the Classes are governmental entities, Defendants, any entity
8    in which Defendants have a controlling interest, and Defendants; officers, directors,
9    affiliates, legal representatives, employees, co-conspirators, successors, subsidiaries, and
10   assigns. Also excluded from the Classes are any judge, justice, or judicial officer
11   presiding over this matter, and the members of their immediate families and judicial staff.
12         109.    The Classes described in this Complaint may be jointly referred to as the
13   “Class” and proposed Members of the Classes may be jointly referred to as “Class
14   Members.”
15         110.    Plaintiffs reserve the right to amend or modify the Class and/or Subclass
16   definitions with greater specificity, further division into subclasses, or with limitation to
17   particular issues as discovery and the orders of this Court warrant.
18         111.    The Court can define the Class and create additional subclasses as may be
19   necessary or desirable to adjudicate common issues and claims of the Class Members if,
20   based on discovery of additional facts, the need arises.
21         112.    Pursuant to Rule 23(b)(2) of the Federal Rules of Civil Procedure,
22   Defendants have acted or refused to act on grounds generally applicable to the Class,
23   thereby making final injunctive relief or corresponding declaratory relief and damages
24   appropriate with respect to the Class as a whole. Specifically, Defendants continue to
25   obtain and disseminate sensitive viewing histories and personal information on an opt-in
26   basis and without consent, and to date have not adequately disclosed the true nature of the
27   VIZIO Smart TVs with integrated Smart Interactivity technology, including that the TVs
28   collect and disseminate consumers’ personal information.
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1          113. Numerosity and Ascertainability: The exact number of members of the Class
2    is unknown as such information is unavailable to Plaintiffs at this time. However,
3    Plaintiffs believe individual joinder in this case is impracticable. The Class likely consists
4    of hundreds of thousands of individuals. These individuals can be readily ascertainable
5    through Defendants or their agents’ records and are obtainable to Plaintiffs only through
6    the discovery process.
7          114. Predominance of Common Questions of Fact and Law: Questions of law and
8    fact common to all Class members exist and predominate over any questions affecting
9    only individual Class members, including, but not limited to, the following:
10         a.     Whether Defendants unlawfully collected and disseminated Plaintiffs’ and
11                Class members’ personal information;
12         b.     Whether Defendants disclosed to Plaintiffs and Class members before the
13                tracking software was activated on their VIZIO Smart TVs that their
14                personal information would be collected and disseminated to third parties;
15         c.     Whether Defendants omitted material facts with regard to the Smart
16                Interactivity feature of the Smart TVs;
17         d.     Whether Plaintiffs and Class members consented to the collection of their
18                personal information and its sale to third parties;
19         e.     Whether Plaintiffs and Class members have a reasonable expectation of
20                privacy in the information collected and disseminated by Defendants;
21         f.     Whether Defendants’ conduct constitutes violations of the laws and statutes
22                asserted herein;
23         g.     Whether Defendants’ conduct was knowing;
24         h.     Whether, as a result of Defendants’ conduct, Plaintiff and Class members
25                are entitled to damages, including compensatory, statutory, or punitive, and
26                the amount of such damages;
27         i.     Whether, as a result of Defendants’ conduct, Plaintiffs and Class members
28                are entitled to equitable relief, such as declaratory or injunctive relief;
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1          j.     Whether Defendants were unjustly enriched by their conduct;
2          k.     Whether, for the Nationwide Class noted above, California has a significant
3                 contact to the claims of each class member to apply California law to all
4                 members of the Nationwide Class;
5          l.     Whether, for the Nationwide Class noted above, the Video Privacy
6                 Protection Act applies to all members of the Nationwide Class; and
7          m.     Whether, as a result of Defendants’ conduct, Plaintiff and Class members
8                 are entitled to an award of reasonable attorneys’ fees, prejudgment interest,
9                 or costs of suit.
10         115. Typicality: Plaintiffs’ claims, and Defendants’ defenses, are typical of the
11   claims and defenses of and to the Class. Every member of the Class was similarly
12   affected by Defendants’ course of conduct and experienced the same harm, damages and
13   loss based on Defendants’ unlawful conduct. As such, Plaintiffs and Class members must
14   establish the same facts in order to prove the claims asserted herein.
15         116. Adequacy of Representation: Plaintiffs do not have any conflicts with any
16   other members of the Class, and will fairly and adequately represent and protect the
17   interests of the members of the Class and any other subclass. Plaintiffs have retained
18   counsel competent and experienced in consumer protection and class action litigation,
19   trials, and appeals.
20         117.    Superiority of a Class Action: A class action is superior to other available
21   methods for fair and efficient adjudication of this controversy. The expense and burden of
22   the individual litigation would make it impracticable or impossible for the Class members
23   to prosecute their claims individually. Absent a class action, Defendants likely will retain
24   the benefits of its wrongdoing. Because of the small size of the individual Class
25   members’ claims, few, if any, Class members could afford to seek legal redress for these
26   wrongs. Absent a representative action, the Class members will continue to suffer losses
27   and Defendants will be allowed to continue these violations of law and to retain the
28   proceeds of its ill-gotten gains. The trial and litigation of Plaintiffs’ and Class members’
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1    claims are manageable. Individual litigation of the legal and factual issues raised by
2    Defendants’ conduct would increase delay and expense to all parties and the court
3    system. The class action device presents far fewer management difficulties and provides
4    the benefits of a single, uniform court judgment. Thus, the benefits of proceeding as a
5    class action outweigh the difficulties.
6
7                                  VI.    CAUSES OF ACTION
8                                  FIRST CLAIM FOR RELIEF
9             Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710
        (On Behalf of All Plaintiffs and the Nationwide Class Against All Defendants)
10
11         118. Plaintiffs incorporate by reference the foregoing allegations as if fully set
12   forth herein.
13         119. VIZIO is a video tape service provider subject to 18 U.S.C. § 2710(a)(4) of
14   the Video Privacy Protection Act (“VPPA”). VIZIO is “engaged in the business, in or
15   affecting interstate or foreign commerce, of rental, sale, or delivery of prerecorded video
16   cassette tapes or similar audio visual materials” by delivering videos to consumers
17   through its Internet-connected Smart TVs. VIZIO facilitates the transmission of specific
18   video titles to be made to consumers through its VIA and VIA Plus services that allow
19   consumers to watch movies and TV shows, listen to music, and access applications on
20   demand.
21         120. As users of VIZIO’s Smart TVs, Plaintiffs and members of the Class are
22   consumers within the definition of 18 U.S.C. § 2710(a)(1) of the VPPA.
23         121. The collection of consumers’ viewing information – including movies,
24   shows, and programs viewed, IP addresses, media access control (MAC) addresses, zip
25   codes, computer names, and product serial numbers – constitutes the collection of
26   personally identifiable information (“PII”) within 18 U.S.C. § 2710(a)(3), because it
27   “includes information which identifies a person as having requested or obtained specific
28   video materials or services from a video tape service provider.”
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1          122. VIZIO has disclosed, and continues to disclose, PII to third-parties,
2    including data brokers and advertisers, to generate revenue and profit.
3          123. VIZIO failed to solicit and/or obtain consent from Plaintiffs and the Class
4    members to collect and disclose their PII, nor did VIZIO provide clear and conspicuous
5    notice of the disclosure of PII, as defined in 18 U.S.C. § 2710 (b)(2)(B).
6          124. VIZIO’s disclosures were not made in the ordinary course of business as
7    defined by 18 U.S.C. § 2710(a)(2), which limits disclosures to “debt collection activities,
8    order fulfillment, request processing, and the transfer of ownership.”
9          125. The knowing disclosure and transmission of PII violates the VPPA within
10   the meaning of 18 U.S.C § 2710(b)(1).
11         126. Accordingly, Plaintiffs and members of the Class are entitled under 18
12   U.S.C. § 2710(c)(2) to an award of damages (actual, liquidated, or punitive), reasonable
13   attorneys’ fees, other litigation costs reasonably incurred, and such other preliminary and
14   equitable relief as the Court deems appropriate.
15                               SECOND CLAIM FOR RELIEF
16                  Violation of the Wiretap Act, 18 U.S.C. § 2510 et seq.
        (On Behalf of All Plaintiffs and the Nationwide Class Against All Defendants)
17
18         127. Plaintiffs reallege and incorporate by reference all of the preceding
19   paragraphs.
20         128. The Federal Wiretap Act, 18 U.S.C. § 2510 et seq., prohibits the interception
21   of any wire, oral, or electronic communications. The statute confers a civil cause of
22   action on “any person whose wire, oral, or electronic communication is intercepted,
23   disclosed, or intentionally used in violation of this chapter.” 18 U.S.C. § 2520(a).
24         129. “Electronic communication” is defined as “any transfer of signs, signals,
25   writing, images, sounds, data, or intelligence of any nature transmitted in whole or in part
26   by a wire, radio, electromagnetic, photoelectronic or photooptical system that affects
27   interstate or foreign commerce…” 18 U.S.C. § 2510(12).
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1           130. “Intercept” is defined as “the aural or other acquisition of the contents of any
2    wire, electronic, or oral communication through the use of any electronic, mechanical, or
3    other device.” 18 U.S.C. § 2510(4).
4           131. “Contents” is defined as “includ[ing] any information concerning the
5    substance, purport, or meaning of that communication.” 18 U.S.C. § 2510(8).
6           132. “Person” is defined as “any employee, or agent of the United States or any
7    State or political subdivision thereof, and any individual, partnership, association, joint
8    stock company, trust, or corporation.” 18 U.S.C. § 2510(6).
9           133. Plaintiffs and Class members are persons as defined under § 2510(6) of the
10   Act.
11          134. VIZIO’s automated content recognition software, Smart Interactivity, is a
12   device for purposes of the Wiretap Act because it is software used to intercept electronic
13   communication.
14          135. VIZIO, through its design, authorship, programming, knowing and
15   intentional installation, activation, and/or other involvement with Smart Interactivity
16   software and its Inscape data program has intentionally intercepted, endeavored to
17   intercept, and/or procured others to intercept or endeavor to intercept, electronic
18   communications as described herein, in violation of 18 U.S.C. § 2511(1)(a). This
19   interception was acquired during transmission, as Smart Interactivity operated in real-
20   time—or, in the FTC’s words, “second-by-second information”—to acquire the content
21   of Plaintiffs’ and the Class members’ electronic communications, including their viewing
22   habits and identifying information, as described above.
23          136. The contents intercepted include information concerning the substance,
24   purport, or meaning of that communication, including, but not limited to, viewing habits,
25   viewing requests, and viewing preferences, IP addresses, MAC addresses, zip codes,
26   product model numbers, hardware and software versions, chipset IDs, and region and
27   language settings.
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1          137. As alleged in Paragraphs 49 to 58, 76, 100, and 104, among others,
2    Plaintiffs’ and the Class members’ electronic communications were intercepted during
3    transmission, simultaneous with the communications’ arrival, and/or within a second of
4    the communications’ arrival without their consent and for the unlawful and/or wrongful
5    purpose of monetizing their private information, including by using their private
6    information to create targeted advertisements for profit, without Class members’ consent,
7    and for tortious purposes and for the purpose of committing unfair business practices.
8          138. As a result, Plaintiffs and Class members have suffered harm and injury,
9    including due to the interception and transmission of private and personal, confidential,
10   and sensitive communications, content, and data.
11         139. Plaintiffs and the Class have been damaged by the interception or disclosure
12   of their communications in violation of the Wiretap Act, as described herein, and are thus
13   entitled to preliminary, equitable, or declaratory relief; statutory and punitive damages;
14   and reasonable attorney’s fees and litigations costs reasonably incurred. 18 U.S.C. §
15   2520(b).
16                                THIRD CLAIM FOR RELIEF
17     Violation of California’s Invasion of Privacy Act, Cal. Penal Code § 630, et seq.
18                   (On Behalf Of Plaintiffs And The Nationwide Class
       And Separately, On Behalf Of Plaintiffs Hodges and Zufolo And The California
19                              Class Against All Defendants)
20         140. Plaintiffs incorporate all allegations of the preceding and succeeding
21   paragraphs as though fully set forth herein.
22         141. Under California’s Invasion of Privacy Act (“CIPA”), it is unlawful to
23   intentionally, willfully, and without consent tap or make any unauthorized connection by
24   means of any machine, instrument, or contrivance, or in any other manner with any
25   telegraph or telephone wire, line, cable, or instrument, in order to purposefully intercept a
26   communication or its content that is in transit or passing over any wire, line, or cable, or
27   is being sent from or received within California; and to use, attempt to use, or
28   communicate any such information obtained by these means. See Cal. Penal Code § 631.
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1          142. As alleged in Paragraphs 49 to 58, 76, 100, and 104, among others, VIZIO,
2    Cognitive Media Networks, and/or Inscape Technologies, LLC, which operate in
3    California, intentionally, willfully, and without consent, made unauthorized connections
4    with Plaintiffs’ and Class members’ Smart TVs to purposefully intercept communications
5    in transit. See Cal. Penal Code § 631. The contents were then collected and/or analyzed
6    by these entities.
7          143. The contents intercepted include information concerning the substance,
8    purport, or meaning of that communication, including, but not limited to, viewing
9    histories, viewing requests, and viewing preferences, online services visited by the
10   consumer, IP addresses, MAC addresses, zip codes, product model numbers, hardware
11   and software versions, chipset IDs, and region and language settings.
12         144. Furthermore, VIZIO used, attempted to use, and communicated the
13   information it obtained, through Smart Interactivity software and using its Inscape data
14   services program, to data brokers and advertisers.
15         145. Plaintiffs’ and the Class members’ electronic communications were
16   intercepted without their consent and for the unlawful and/or wrongful purpose of
17   monetizing their private information, and for tortious purposes and for the purpose of
18   committing unfair business practices.
19         146. As an actual and proximate result of the above actions, Plaintiffs and Class
20   members have been injured and suffered actual damages in an amount to be determined
21   at trial. For each violation of CIPA by VIZIO, Plaintiffs and Class members are entitled
22   to damages pursuant California Penal Code § 637.2 of $5,000 or three times the amount
23   of their actual damages (at their election). See Cal. Penal Code § 637.2. Plaintiffs and
24   Class members are also entitled to injunctive relief.
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                                 FOURTH CLAIM FOR RELIEF
1
2           Violation of California’s Consumer Legal Remedies Act (“CLRA”)
                               Cal. Civ. Code §§ 1750, et seq.
3                   (On Behalf Of Plaintiffs And The Nationwide Class
4      And Separately, On Behalf Of Plaintiffs Hodges and Zufolo And The California
                               Class Against All Defendants)
5
6          147. Plaintiffs incorporate by reference the foregoing allegations as if fully set
7    forth herein.
8          148. Plaintiffs and each member of the Class are “consumers” as defined by Cal.
9    Civ. Code § 1761(d).
10         149. Defendants are each a “person” as defined by Cal. Civ. Code § 1761(c).
11         150. Defendants’ Smart TVs are “goods” as defined by Cal. Civ. Code § 1761(a).
12         151. Defendants’ sale of Smart TVs, to wholesalers and retailers constitutes
13   transactions that were intended to result, or did result, in the sale of goods to consumers
14   within the meaning of Cal. Civ. Code §§ 1761(e) and 1770(a).
15         152. The CLRA protects consumers against unfair and deceptive practices, and is
16   intended to provide an efficient means of securing such protection.
17         153. Defendants violated the CLRA by engaging in unfair and deceptive
18   practices, and by causing harm to Plaintiffs and the Class.
19         154. Specifically, Defendants installed the tracking software on their Smart TVs,
20   used that software to monitor and collect consumer data and viewing habits, and then
21   sold the aggregated data to various third parties.
22         155. Defendants did not, however, disclose to consumers the existence of the
23   tracking software or the fact that the software collected consumers’ data, and never
24   obtained consumer consent to monitor, collect, and/or sell consumers’ data.
25         156. Defendants’ failure to disclose the presence of the tracking software violated
26   the CLRA in multiple ways:
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1                a. In violation of Cal. Civ. Code § 1770(a)(5), Defendants represented that
2                   their Smart TVs had characteristics, ingredients, uses, benefits, or quantities
3                   which they did not have;
4                b. In violation of Cal. Civ. Code § 1770(a)(7), Defendants represented that
5                   their Smart TVs were of a particular standard, quality, or grade, when they
6                   were of another; and
7                c. In violation of Cal. Civ. Code § 1770(a)(9), Defendants advertised their
8                   Smart TVs with the intent not to sell them as advertised.
9                d. In violation of Cal. Civ. Code § 1770(a)(14), Defendants knowingly and
10                  intentionally withheld material information from Plaintiffs and the Class –
11                  namely that their Smart TV purchases would result in the collection and
12                  dissemination of their viewing history, in violation of their statutorily
13                  protected rights to privacy.
14               e. In violation of Cal. Civ. Code § 1770(a)(16), Defendants represented that
15                  their Smart TVs were in full compliance with all governing federal and
16                  state consumer protection and privacy laws, when in fact they were not.
17         157. Defendants’ unfair or deceptive acts or practices were capable of deceiving a
18   substantial portion of the purchasing public.
19         158. Defendants did not disclose facts about the tracking software to consumers
20   who purchased the Smart TVs because they knew consumers would not purchase the
21   Smart TVs if they knew of the tracking software, and how Defendants would use that
22   software.
23         159. Defendants were under a duty to Plaintiffs and the Class to disclose that the
24   Smart TVs contained the tracking software for several reasons including, but not limited
25   to:
26         a.      Defendants were in a superior position to know that the tracking software
27                 was installed on the Smart TVs;
28
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1           b.    Plaintiffs and the Class could not reasonably have been expected to learn or
2                 discover that Defendant included the tracking software on the Smart TVs,
3                 especially given the practices of VIZIO’s competitors;
4           c.    Defendants knew Plaintiffs and the Class members could not reasonably
5                 have been expected to learn or discover that Defendants included the
6                 tracking software on the Smart TVs; and
7           d.    Defendants knew that Plaintiffs and the Class members would not purchase,
8                 or would pay much less for, the Smart TVs if they knew of the tracking
9                 software.
10          160. By failing to disclose the Smart TVs’ tracking software, Defendants
11   knowingly and intentionally concealed material facts and breached their duty to Plaintiffs
12   and the Classes.
13          161. The facts concealed or not disclosed by Defendants to Plaintiffs and the
14   Class are material in that a reasonable consumer would have considered them to be
15   important in deciding whether or not to purchase, or how much to pay for, the Smart
16   TVs.
17          162. Plaintiffs and the Class reasonably expected that their televisions would be
18   free from tracking software.
19          163. The existence of tracking software on a television is a material term for the
20   purchase of a television, and a primary reason not to purchase a particular television.
21          164. Defendants did not disclose facts about the tracking software to consumers
22   that purchased the Smart TVs because they knew consumers, acting reasonably under the
23   circumstances, would not purchase, or would pay less for, the Smart TVs if the fact that
24   tracking software was installed on the Smart TVs was disclosed prior to purchase.
25          165. Through the omissions detailed herein, Defendants wrongfully induced
26   Plaintiffs and the other members of the Class to purchase the Smart TVs when they
27   otherwise would not have purchased, or paid less for, them.
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1            166. As a direct and proximate result of Defendants’ violations of the CLRA,
2    Plaintiffs and each Class member have suffered harm in the form of paying moneys to
3    purchase the Smart TVs when they otherwise would not have purchased. Or paid less for,
4    them.
5            167. Pursuant to Cal. Civ. Code § 1780(a) and (b), Plaintiffs, individually and on
6    behalf of the Classes, seek an injunction requiring Defendants to cease and desist the
7    illegal conduct alleged in this Complaint, damages for Defendants’ violations, and all
8    other appropriate remedies for Defendants’ violations of the CLRA.
9            168. Pursuant to Cal. Civ. Code § 1782(a), Plaintiff Hodges served Defendants
10   with notice of their alleged violations of the CLRA by certified mail return receipt
11   requested on December 16, 2015.
12           169. Defendants’ conduct in (1) developing the software and technology capable
13   of collecting consumers’ viewing habits and personally identifiable information on a
14   massive scale, and (2) their scheme in disclosing this information to third parties,
15   including advertisers, data brokers and data aggregators for profit without adequate
16   disclosure to consumers, all emanated from California and has a substantial connection to
17   the State of California.
18                             FIFTH CLAIM FOR RELIEF
19              Violation of California’s Unfair Competition Law (“UCL”)
                          Cal. Bus. & Prof. Code §§ 17200, et seq.
20                 (On Behalf Of Plaintiffs And The Nationwide Class,
21     And Separately, On Behalf Of Plaintiffs Hodges and Zufolo And The California
                                           Class)
22
23           170. Plaintiffs incorporate by reference the foregoing allegations as if fully set
24   forth herein.
25           171. The UCL protects consumers and competitors by promoting fair competition
26   in commercial markets for goods and services.
27
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1           172. The UCL prohibits any unlawful, unfair, or fraudulent business act or
2    practice, including the employment of any deception, fraud, false pretense, false promise,
3    misrepresentation, or the concealment, suppression, or omission of any material fact.
4           173. Defendants violated the UCL by engaging in unlawful, unfair and fraudulent
5    business acts or practices.
6           174. Defendants’ conduct is unlawful because, as explained above, it violates the
7    Video Privacy Protection Act (18 U.S.C. § 2710), the Wiretap Act (18 U.S.C. § 2510 et
8    seq.), California’s Invasion of Privacy Act (Penal Code § 630 et seq.), Cal. Civ. Code §
9    1799.3(a), California’s Unfair Competition Law (Cal. Bus. & Prof. Code § 17200 et
10   seq.), Florida’s Deceptive and Unfair Trade Practices Act (Fla. Stat. § 501.201 et seq.),
11   New York General Business Law § 349, Massachusetts’ Unfair and Deceptive Trade
12   Practices Statute (Massachusetts General Laws ch. 93A et seq.), Massachusetts’ Statutory
13   Right to Privacy (Massachusetts General Laws ch. 214, § 1B), Washington’s Consumer
14   Protection Act (Wash Rev. Code § 19.86 et seq.) and constitutes unjust enrichment,
15   privacy based on intrusion, and/or fraud by omission.
16          175. Defendants’ conduct is unfair because it is substantially injurious to
17   consumers, and is immoral, unethical, oppressive and unscrupulous. Defendants’
18   conduct is not outweighed by any countervailing benefits to consumers or competition,
19   and Defendants’ conduct, and the harm it causes, is not reasonably avoidable by
20   consumers.
21          176. Defendants monitor, collect, and record consumer viewing habits and other
22   information in order to sell it to third parties for profit, and do so without disclosing their
23   data practices to consumers or obtaining consumer consent for the collection or sale of
24   consumer data.
25          177. Had consumers known Defendants’ Smart TVs employed software that
26   monitored, collected and disseminated consumer viewing habits and other data,
27   consumers would not have purchased, or would have paid less for Defendants’ Smart
28   TVs.
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1          178. Moreover, by surreptitiously monitoring, collecting, and recording consumer
2    viewing habits and other information, and by selling, or otherwise disclosing, that
3    information to third parties without consumer knowledge or consent, Defendants prevent
4    consumers from avoiding Defendants’ data practices, and prevent consumers from
5    protecting their right to privacy and their right to control the dissemination of their
6    personal information.
7          179. Defendants knew or had reason to know that Plaintiffs and the Class could
8    not have reasonably known or discovered the existence of the tracking software, without
9    disclosure by Defendants.
10         180. The injury to consumer privacy rights, and the causing of consumers to buy
11   products they otherwise would not have purchased, or would have paid less for,
12   outweighs the profit motive for Defendants’ unauthorized and secretive monitoring,
13   collection and dissemination of consumer data.
14         181. Defendants’ conduct is fraudulent because it is reasonably likely to deceive
15   consumers.
16         182. The specifications of a consumer product are a material term of any
17   transaction in that they directly affect a consumer’s choice and conduct in purchasing
18   product.
19         183. Despite the importance of specifications to consumer purchase decisions,
20   Defendants do not disclose that their Smart TVs have the tracking software installed, and
21   that the tracking software monitors, collects and disseminates consumer data.
22         184. Defendants’ failure to disclose this specification of their Smart TVs, as well
23   as Defendant’s failure to gain consumer authorization to allow Defendants to monitor and
24   collect consumer information by use of the tracking software, deceived consumers into
25   believing they were merely purchasing a benign entertainment device.
26         185. Had Defendants disclosed to consumers that their Smart TVs employed the
27   tracking software, and that consumer viewing habits and other information would be
28   collected without consent or knowledge, consumers would not have bought, or would
                                             42
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1    have paid less for, Defendants’ Smart TVs, and also would have avoided Defendants’
2    products and data practices.
3          186. Defendants’ unlawful, fraudulent and unfair conduct occurred during the
4    marketing, distribution, and sale of Smart TVs, and therefore occurred in the course of
5    Defendants’ business practices.
6          187. Defendants’ conduct directly and proximately caused Plaintiffs and the Class
7    actual monetary damages in the form of the price paid for the Smart TVs.
8          188. Defendants’ also profited from their unlawful, fraudulent and unfair conduct
9    in that they obtained the personal information of Plaintiffs and Class members without
10   their knowledge or consent, and then sold that information to third parties for profit.
11         189. Had Defendants disclosed that their tracking software was installed and
12   operating on the VIZIO Smart TVs, Plaintiffs and Class members would not have
13   purchased the Smart TVs, or would have paid less for them.
14         190. In fact, Defendants did not disclose facts about the tracking software to
15   consumers that purchased the Smart TVs because they knew consumers, acting
16   reasonably under the circumstances, would not purchase, or would pay less for, the Smart
17   TVs if the fact that tracking software was installed on the Smart TVs was disclosed prior
18   to purchase.
19         191. Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs seeks an order (1)
20   requiring Defendants to cease the fraudulent and unfair practices described herein; (2)
21   requiring Defendants to restore to Plaintiffs and each Class member any money acquired
22   by means of unfair competition (restitution); and, (3) awarding reasonable costs and
23   attorneys’ fees pursuant to Cal. Code Civ. Proc. § 1021.5.
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                                  SIXTH CLAIM FOR RELIEF
1
2       Violation of Florida’s Deceptive And Unfair Trade Practices Act (“FDUTPA”)
                                  Fla. Stat. § 501.201, et seq.
3         (On Behalf Of Plaintiff Mark Queenan and The Florida Class Against All
4                                        Defendants)
5          192. Plaintiffs incorporate by reference the foregoing allegations as if fully set
6    forth herein.
7          193. Plaintiffs and each member of the Class are “consumers” as defined by Fla.
8    Stat. § 501.203(7).
9          194. Defendants, through their conduct alleged herein, are engaged in “trade or
10   commerce” as defined by Fla. Stat. § 501.203(8).
11         195. The FDUTPA was enacted to protect consumers and businesses from unfair
12   methods of competition, or unconscionable, deceptive, or unfair acts or practices in the
13   conduct of any trade or commerce.
14         196. To this end, the FDUTPA declares as unlawful all unfair methods of
15   competition, unconscionable acts or practices, and unfair or deceptive acts or practices in
16   the conduct of any trade or commerce.
17         197. Defendants violated the FDUTPA because their conduct, as alleged herein,
18   is deceptive and unfair.
19         198. Defendants’ conduct is deceptive because it is likely to mislead a reasonable
20   consumer.
21         199. The specifications of a consumer product are a material term of any
22   transaction in that they directly affect a consumer’s choice and conduct in purchasing a
23   product.
24         200. Despite the importance of specifications to consumer purchase decisions,
25   Defendants do not disclose that their Smart TVs have the tracking software installed, and
26   that the tracking software monitors, collects and disseminates consumer data.
27         201. On the boxes in which the Smart TVs were packaged, Defendants informed
28   Plaintiffs that one would be able to stream and view video content from the Smart TVs,
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1    as well as connect the Smart TVs to other devices such as Blu-ray DVD players and
2    gaming consoles. However, Defendants failed to inform Plaintiffs that if they take
3    advantage of these features and/or watch live broadcast programming on their Smart
4    TVs, their viewing data is collected and disseminated to third parties. Had Plaintiffs
5    known the full truth about Defendants’ collection and dissemination of Defendants’
6    viewing data, Plaintiffs would not have purchased or would have paid less for their Smart
7    TVs.
8           202. Defendants’ failure to disclose these specifications of their Smart TVs, as
9    well as Defendants’ failure to gain consumer consent to allow Defendants to monitor and
10   collect consumer information by use of the tracking software, deceived consumers into
11   believing they were purchasing a benign entertainment device.
12          203. Had Defendants disclosed to consumers that their Smart TVs employed the
13   tracking software, and that consumer viewing habits and other information would be
14   collected and disseminated without consent or knowledge, consumers would not have
15   bought, or would have paid less for, Defendants’ Smart TVs and would have avoided
16   Defendants’ products and data practices.
17          204. In fact, Defendants did not disclose facts about the tracking software to
18   consumers that purchased the Smart TVs because they knew consumers, acting
19   reasonably under the circumstances, would not purchase, or would pay less for, the Smart
20   TVs if the fact that tracking software was installed on the Smart TVs was disclosed prior
21   to purchase.
22          205. Defendants’ conduct is unfair because it offends established public policy
23   and is immoral, unethical, oppressive, unscrupulous and substantially injurious to
24   consumers.
25          206. Defendants’ conduct offends established public policy because it violated 18
26   U.S.C. § 2710 and 18 U.S.C. § 2510 et seq., as explained above.
27          207. Defendants’ conduct is substantially injurious, and is immoral, unethical,
28   oppressive and unscrupulous because Defendants monitor, collect, and record consumer
                                            45
                            SECOND CONSOLIDATED COMPLAINT
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1    viewing habits and other information in order to sell it to third parties for profit, and does
2    so without disclosing its data practices to consumers or obtaining consumer consent for
3    the collection and sale of consumer data.
4           208. Had consumers known Defendants’ Smart TVs employed software that
5    monitored, collected and disseminated consumer viewing habits and other data,
6    consumers would not have purchased, or would have paid less for, Defendants’ Smart
7    TVs.
8           209. Moreover, by surreptitiously monitoring, collecting, and recording consumer
9    viewing habits and other information, and by selling, or otherwise disclosing, that
10   information to third parties without consumer knowledge or consent, Defendants prevent
11   consumers from avoiding its data practices and from protecting their right to privacy and
12   their right to control the dissemination of their personal information.
13          210. Defendants knew or had reason to know that Plaintiffs and the Class could
14   not have reasonably known or discovered the existence of the tracking software, without
15   disclosure by Defendants.
16          211. The injury to consumer privacy rights, and the causing of consumers to buy
17   products they otherwise would have avoided, outweighs the profit motive and ultimate
18   goal for Defendants’ unauthorized and secretive monitoring, collection and dissemination
19   of consumer data.
20          212. Defendants’ deceptive and unfair conduct occurred during the marketing,
21   distribution, and sale of Smart TVs, and therefore occurred in the course of Defendants’
22   business practices.
23          213. Defendants’ conduct directly and proximately caused Plaintiffs and the Class
24   actual monetary damages in the form of the price paid for the Smart TVs.
25          214. If Defendants had disclosed that their tracking software was installed and
26   operating on the VIZIO Smart TVs, Plaintiffs and Class members would not have
27   purchased, or would have paid less for, the Smart TVs.
28
                                            46
                            SECOND CONSOLIDATED COMPLAINT
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1             215. Pursuant to Fla. Stat. § 501.211, Plaintiffs seek an order (1) requiring
2    Defendants to cease the deceptive and unfair practices described herein; (2) requiring
3    Defendants to pay damages to Plaintiffs and the Class; and (3) awarding attorney’s fees
4    and court costs.
5                              SEVENTH CLAIM FOR RELIEF
                             Violation Of N.Y. Gen. Bus. Law § 349
6                (On Behalf Of Plaintiff Chris Rizzitello And The New York Class
7                                    Against All Defendants)
8             216.   Plaintiffs incorporate by reference the foregoing allegations as if fully set
9    forth herein.
10            217. N.Y. Gen. Bus. Law § 349 prohibits deceptive acts or practices in the
11   conduct of any business, trade or commerce or in the furnishing of any service in this
12   state.
13            218. Defendants’ conduct as alleged herein is covered under New York Gen. Bus.
14   Law § 349 because such conduct is properly defined as consumer-oriented conduct.
15            219. Defendants’ uniform omission regarding the tracking software installed on
16   its Smart TVs, and its disclosure of consumer information collected by its Smart TVs to
17   third parties affects and deceives consumers at large, and has invaded the privacy rights
18   of millions of consumers.
19            220. Defendants violated N.Y. Gen. Bus. Law § 349 by engaging in conduct that
20   is likely to mislead a reasonable consumer.
21            221. The specifications of a consumer product are a material term of any
22   transaction in that they directly affect a consumer’s choice and conduct in purchasing a
23   product.
24            222. Despite the importance of specifications to consumer purchase decisions,
25   Defendants do not disclose that their Smart TVs have the tracking software installed, and
26   that the tracking software monitors, collects and disseminates consumer data.
27            223. As discussed, on the boxes in which the Smart TVs were packaged,
28   Defendants informed Plaintiffs that one would be able to stream and view video content
                                              47
                              SECOND CONSOLIDATED COMPLAINT
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1    from the Smart TVs, as well as connect the Smart TVs to other devices such as Blu-ray
2    DVD players and gaming consoles. However, Defendants failed to further inform
3    Plaintiffs that if they take advantage of these features and/or watch live broadcast
4    programming on their Smart TVs, their viewing data is collected and disseminated to
5    third parties. Had Plaintiffs known the full truth about Defendants’ collection and
6    dissemination of Defendants’ viewing data, Plaintiffs would not have purchased or would
7    have paid less for their Smart TVs.
8          224. Defendants’ failure to disclose these specifications of their Smart TVs, as
9    well as Defendants’ failure to gain consumer authorization to allow Defendants to
10   monitor and collect consumer information by use of the tracking software, deceived
11   consumers into believing they were purchasing a benign entertainment device.
12         225. Had Defendants disclosed to consumers that their Smart TVs employed the
13   tracking software, and that consumer viewing habits and other information would be
14   collected and disseminated without consent or knowledge, consumers would not have
15   bought, and would have paid less for, Defendants’ Smart TVs, and would have avoided
16   Defendants’ products and data practices.
17         226. In fact, Defendants did not disclose facts about the tracking software to
18   consumers that purchased the Smart TVs because they knew consumers, acting
19   reasonably under the circumstances, would not purchase, or would pay less for, the Smart
20   TVs if the fact that tracking software was installed on the Smart TVs was disclosed prior
21   to purchase.
22         227. Defendants’ conduct directly and proximately caused Plaintiffs and the Class
23   actual monetary damages in the form of the price paid for the Smart TVs.
24         228. Defendants’ conduct also caused direct harm to the privacy rights of
25   Plaintiffs and the Class, and harmed the ability of Plaintiffs and Class members to control
26   the dissemination of their private information.
27         229. Pursuant to N.Y. Gen. Bus. Law § 349(h), Plaintiffs seek an order: (1)
28   requiring Defendants to cease the deceptive and unfair practices described herein; (2)
                                            48
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1    requiring Defendants to pay damages to Plaintiffs and the Class, or fifty dollars to
2    Plaintiffs and each class member, whichever is greater; (3) treble damages for
3    Defendants’ knowing and willful violations; and (4) reasonable attorneys’ fees.
4                                EIGHTH CLAIM FOR RELIEF
5         Violation Of Massachusetts’ Unfair and Deceptive Trade Practices Statute
6                        Massachusetts General Laws ch. 93A, et seq.
         (On Behalf Of Plaintiff John Walsh And The Massachusetts Class Against All
7                                       Defendants)
8          230. Plaintiffs incorporate by reference all the preceding allegations as if fully set
9    forth herein.
10         231. Defendants’ acts and practices complained of herein—including but not
11   limited to installing tracking software on its Smart TVs, surreptitiously monitoring and
12   acquiring the personally identifiable information of Plaintiff Walsh and members of the
13   Massachusetts Class, and selling that information to third parties without consent—
14   amount to “[u]nfair methods of competition and unfair or deceptive acts or practices in
15   the conduct of any trade or commerce,” as proscribed by Massachusetts General Laws ch.
16   93A, § 2(a). Pursuant to the notice requirement in Massachusetts General Laws ch. 93A,
17   § 9(3), Plaintiff Walsh delivered a written demand letter detailing the acts and practices
18   complained of herein and the injury suffered to Defendant thirty days before the filing of
19   his underlying class action, Walsh et. al v. VIZIO, Inc., Case No. 1:16-cv-10758-DJC (D.
20   Mass). Defendant responded with a letter denying all allegations.
21         232. Plaintiff Walsh and members of the Massachusetts Class suffered actual
22   injury as the result of Defendant’s acts, practices, and omissions described herein.
23         233. As a result of Defendant’s violations of Massachusetts’ Unfair and
24   Deceptive Trade Practices Statute, Plaintiff Walsh and members of the Massachusetts
25   Class are entitled to—and accordingly seek—actual damages and attorneys’ fees,
26   pursuant to Massachusetts General Laws ch. 93A, § 9.
27
28
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1                              NINTH CLAIM FOR RELIEF
                  Violation Of Massachusetts’ Statutory Right to Privacy
2
                         Massachusetts General Laws ch. 214, § 1B
3       (On Behalf Of Plaintiff John Walsh And The Massachusetts Class Against All
                                       Defendants)
4
5          234. Plaintiffs incorporate by reference all the preceding allegations as if fully set
6    forth herein.
7          235. Pursuant to Massachusetts General Laws ch. 214, § 1B, Massachusetts
8    guarantees persons freedom from unreasonable, substantial, or serious interference with
9    their privacy.
10         236. Defendants’ acts and practices complained of herein—including but not
11   limited to installing tracking software on its Smart TVs, surreptitiously monitoring and
12   acquiring the personally identifiable information of Plaintiff Walsh and members of the
13   Massachusetts Class, and selling that information to third parties without consent—have
14   violated the law guaranteeing the rights of Plaintiff Walsh and Members of the
15   Massachusetts Class to be free from unreasonable, substantial, or serious interference
16   with their privacy.
17         237. As a result of Defendants’ acts and practices complained of herein, Plaintiff
18   Walsh and Members of the Massachusetts Class have suffered and will continue to suffer
19   actual and irreparable harm, and are entitled to (and accordingly seek) damages and
20   equitable relief.
21                              TENTH CLAIM FOR RELIEF
22            Violation of Washington’s Consumer Protection Act (“WCPA”)
                               Wash Rev. Code §§ 19.86, et seq.
23     (On Behalf Of Plaintiffs Linda Thomson And The Washington Class Against All
                                        Defendants)
24
25         238. Plaintiffs incorporate by reference the foregoing allegations as if fully set
26   forth herein.
27         239. Plaintiff Linda Thomson resides and bought her VIZIO Smart TV in the
28   state of Washington. She brings this claim on behalf of Washington Class members who
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1    live in the state of Washington or who purchased their VIZIO Smart TV in the state of
2    Washington.
3          240. Plaintiffs, the Class members and Defendants are “persons” within the
4    meaning of Wash. Rev. Code § 19.86.010(1).
5          241. Defendants conduct “trade” and “commerce” within the meaning of the
6    Wash. Rev. Code § 19.86.010(2).
7          242. The WCPA declares as unlawful unfair methods of competition and unfair
8    or deceptive acts or practices in the conduct of any trade of commerce.
9          243. Defendants violated the WCPA by engaging in deceptive and unfair acts or
10   practices.
11         244. Defendants’ conduct, as alleged herein, is deceptive because it has the
12   capacity to deceive a substantial portion of the population.
13         245. The specifications of a consumer product are a material term of any
14   transaction in that they directly affect a consumer’s choice and conduct in purchasing a
15   product.
16         246. Despite the importance of specifications to consumer purchase decisions,
17   Defendants do not disclose that their Smart TVs have the tracking software installed, and
18   that the tracking software monitors, collects and disseminates consumer data through the
19   Inscape data collection program.
20         247. Defendants’ failure to disclose these specifications of their Smart TVs, as
21   well as Defendants’ failure to gain consumer authorization to allow Defendants to
22   monitor and collect consumer information by use of the tracking software, deceived
23   consumers into believing they were purchasing a benign entertainment device.
24         248. Had Defendants disclosed to consumers that their Smart TVs employed the
25   tracking software, and that consumer viewing habits and other information would be
26   collected and disseminated without consent or knowledge, consumers would not have
27   have bought, or would have paid less for, Defendants’ Smart TVs and would have
28   avoided Defendants’ products and data practices.
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1          249. In fact, Defendants did not disclose facts about the tracking software to
2    consumers that purchased the Smart TVs because they knew consumers, acting
3    reasonably under the circumstances, would not purchase, or would pay less for, the Smart
4    TVs if the fact that tracking software was installed on the Smart TVs was disclosed prior
5    to purchase.
6          250. Defendants’ conduct is unfair because it offends established public policy
7    and is immoral, unethical, oppressive, unscrupulous and substantially injurious to
8    consumers.
9          251. Defendants’ conduct offends established public policy because it violated 18
10   U.S.C. § 2710 as explained above.
11         252. Defendants’ conduct is substantially injurious, and is immoral, unethical,
12   oppressive and unscrupulous because Defendants monitor, collect, and record consumer
13   viewing habits and other information in order to sell it to third parties for profit, and do so
14   without disclosing their data practices to consumers or obtaining consumer consent for
15   the collection and sale of consumer data.
16         253. Had consumers known Defendants’ Smart TVs employed software that
17   monitored, collected and disseminated consumer viewing habits and other data,
18   consumers would not have purchased, or would pay less for, Defendants’ Smart TVs.
19         254. Moreover, by surreptitiously monitoring, collecting, and recording consumer
20   viewing habits and other information, and by selling, or otherwise disclosing, that
21   information to third parties without consumer knowledge or consent, Defendants prevent
22   consumers from avoiding its data practices, and from protecting their right to privacy and
23   their right to control the dissemination of their personal information.
24         255. Defendants knew or had reason to know that Plaintiffs and the Class could
25   not have reasonably known or discovered the existence of the tracking software, without
26   disclosure by Defendants.
27         256. The injury to consumer privacy rights, and the causing of consumers to buy
28   products they otherwise would have avoided, outweighs the profit motive and ultimate
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1    goal for Defendants’ unauthorized and secretive monitoring, collection and dissemination
2    of consumer data.
3          257. Defendants’ unfair acts and practices were capable of injuring a substantial
4    portion of the public, and have caused widespread public injury.
5          258. Defendants’ unfair acts are ongoing and thus, have a substantial likelihood
6    of continuing to harm the general consuming public.
7          259. Defendants’ deceptive and unfair conduct occurred during the marketing,
8    distribution, and sale of Smart TVs, and therefore occurred in the course of Defendants’
9    business practices.
10         260. Defendants’ conduct directly and proximately caused Plaintiffs’ and the
11   Class’s actual monetary damages in the form of the price paid for the Smart TVs.
12         261. If Defendants had disclosed that their tracking software was installed and
13   operating on the VIZIO Smart TVs, Plaintiffs and Class members would not have
14   purchased, or would have paid less for, the Smart TVs.
15         262. Pursuant to Wash. Rev. Code § 19.86.090, Plaintiffs seek an order (1)
16   requiring Defendants to cease the deceptive and unfair practices described herein; (2)
17   requiring Defendants to pay actual and treble damages to Plaintiffs and the Class; and, (3)
18   awarding attorneys’ fees and court costs.
19                            ELEVENTH CLAIM FOR RELIEF
                              Unjust Enrichment/Quasi-Contract
20
21    (On Behalf of Plaintiffs Hodges, Zufolo, Queenan, Walsh, Rizzitello, and Thomson
       and the California, Florida, Massachusetts, New York, and Washington Classes
22                                 Against All Defendants)
23         263. Plaintiffs incorporate by reference the foregoing allegations as if fully set
24   forth herein.
25         264. Plaintiffs and the California, Florida, Massachusetts, Washington, and New
26   York Classes have conferred a benefit on VIZIO in the form of their personal information
27   and viewing habits. Absent the unauthorized collection of such information and its
28   disclosure to third parties, VIZIO would have had to pay Plaintiffs and the Classes money
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1    in exchange for this viewing habits. In addition, Plaintiffs would not have purchased or
2    would have paid less for their Smart TVs, had VIZIO disclosed that its Smart TVs collect
3    user data and viewing habits for dissemination.
4          265. VIZIO has obtained moneys which rightfully belong to Plaintiffs and the
5    Classes to the detriment of Plaintiffs and the Classes.
6          266. It would be inequitable and unjust for VIZIO to retain these wrongfully
7    obtained profits and benefits at Plaintiffs’ and the Classes’ expense.
8          267. VIZIO’s retention of these wrongfully-obtained profits would violate the
9    fundamental principles of justice, equity, and good conscience.
10         268. Plaintiffs and the Classes are entitled to restitution of the profits unjustly
11   obtained, plus interest.
12                               TWELFTH CLAIM FOR RELIEF
13                              Privacy Violation Based On Intrusion
14    (On Behalf of All Plaintiffs and the Nationwide Class Against All Defendants, And
     Separately, On Behalf Of Plaintiffs Hodges, Zufolo, Queenan, Walsh, And Thomson
15     on Behalf of their Respective State Classes, under the laws of California (both the
16   California Constitution and common law), Florida, Massachusetts, and Washington
                                    Against All Defendants)
17
18         269. Plaintiffs incorporate by reference the foregoing allegations as if fully set
19   forth herein.
20         270. VIZIO, by collecting and disseminating Plaintiffs’ viewing habits without
21   their knowledge, intentionally intruded into a realm in which Plaintiffs have a reasonable
22   expectation of privacy.
23         271. VIZIO obtained unwanted access to Plaintiffs’ data, including but not
24   limited to, the media content Plaintiffs are viewing, when Plaintiffs are viewing it, and
25   whether they are viewing it live or at a later time.
26         272. VIZIO’s intrusion into Plaintiffs’ privacy would be highly offensive to a
27   reasonable person, namely because it occurred without Plaintiffs’ consent or knowledge.
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1          273. By invading Plaintiffs’ privacy, VIZIO has obtained moneys which
2    rightfully belong to Plaintiffs and the Class.
3          274. It would be inequitable and unjust for VIZIO to retain these wrongfully
4    obtained profits and benefits at Plaintiffs’ and the Class’s expense.
5          275. Plaintiffs and the Class are entitled to restitution of the profits unjustly
6    obtained (plus interest), as well as damages for VIZIO’s invasion of privacy.
7
                              THIRTEENTH CLAIM FOR RELIEF
8                                   Fraud By Omission
9     (On Behalf of Plaintiffs Hodges, Zufolo, Queenan, Walsh, Rizzitello, and Thomson
10     and the California, Florida, Massachusetts, New York, and Washington Classes
                                   Against All Defendants)
11
12         276. Plaintiff incorporates by reference the foregoing allegations as if fully set
13   forth herein.
14         277. Defendants concealed, suppressed, or omitted material facts concerning
15   Vizio Smart TVs, to wit, the existence of the Smart Interactivity software that tracks and
16   collects the users’ information and viewing history as well as information from other
17   devices that are connected to the user’s Wi-Fi network and its disclosure of such viewing
18   history, along with personally identifiable information.
19         278. Defendants were under a duty to Plaintiff and Class members to disclose that
20   the Smart TVs contained the pre-enabled tracking software and that VIZIO disclosed the
21   information collected by that software and other software due to the following:
22                   a.   Defendant Vizio, as the manufacturer, was in a superior position to
23                        know of the existence of the pre-enabled tracking software on Vizio
24                        Smart TVs and its dissemination of such data;
25                   b.   The Video Protection Privacy Act prohibits the collection,
26                        interception, disclosure, and/or transmission of the information at
27                        issue without the prior, informed consent of Plaintiff and the Class
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1                        members or the opportunity, given in a clear and conspicuous manner,
2                        to prohibit the disclosure;
3                 c.     Plaintiff and Class members could not reasonably have been expected
4                        to learn or discover that Vizio included pre-enabled tracking software
5                        on its TVs and its dissemination of such information;
6                 d.     Vizio should have known that Plaintiff and Class members could not
7                        reasonably have been expected to learn or discover that Vizio
8                        included pre-enabled tracking software on its TVs, and in fact, Vizio
9                        took steps to actively conceal the tracking software; and
10                e.     Vizio should have known that the existence and nature of the pre-
11                       enabled software and the dissemination of such data was a material
12                       fact that influenced the purchasing decision of Plaintiff and Class
13                       members.
14         279. Defendants intentionally concealed, suppressed, or omitted the material facts
15   described above with the intent to defraud Plaintiff and Class members because
16   Defendants knew or should have known that Plaintiff and Class members would not have
17   purchased the Smart TVs, or would have paid less, if the existence of the software were
18   disclosed.
19         280. A significant part of Defendants’ marketing of Vizio Smart TVs was
20   informing consumers that the TVs could be connected to the internet through a home
21   network, or to cable and satellite television, or to gaming consoles. Defendants
22   deliberately chose, however, to omit the fact that connecting to the internet or these
23   devices would allow Defendants to track, record, and disseminate for profit the personal
24   viewing histories and personally identifiable information without the consumers’
25   affirmative consent.
26         281. Defendants recognize the materiality of the tracking software in Defendants’
27   Prospectus, as set forth above, by admitting that if the public knew the truth, it could
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1    significantly impact sales of its Smart TVs and its ability to profit from the sale of users’
2    personally identifiable information to third parties.
3          282. Plaintiff and Class members were unaware of the existence of the tracking
4    software on Vizio’s Smart TVs at the time of the purchases. Had they known, Plaintiff
5    and Class members would not have purchased Vizio Smart TVs, or would have paid less
6    for them.
7          283. Defendants’ conduct directly and proximately caused Plaintiff and Class
8    members actual monetary damages as a result of the unauthorized use, and dissemination
9    of, their personal information.
10         284. Plaintiff and Class members seek damages, including punitive damages,
11   reasonable attorneys’ fees, and costs as a result of Defendants’ fraudulent omissions.
12                                     VII. PRAYER FOR RELIEF
13         Plaintiffs, individually and on behalf of all others similarly situated, respectfully
14   request that this Court:
15               a. Determine that this action may be maintained as a class action under Rule 23
16                  of the Federal Rules of Civil Procedure, that Plaintiffs are proper class
17                  representatives, and appoint Plaintiffs’ Counsel as counsel for the Class;
18               b. Enter an order declaring Defendants’ actions are unlawful;
19               c. Award Plaintiffs and class members appropriate relief, including actual,
20                  statutory, and punitive damages;
21               d. Award Plaintiffs and class members restitution, disgorgement, and other
22                  equitable relief as the Court deems proper;
23               e. Award injunctive and declaratory relief as may be appropriate;
24               f. Award attorneys’ fees and all other costs of prosecuting this action;
25               g. Award Plaintiffs and the Class pre- and post-judgment interest, to the extent
26                  allowable;
27               h. Grant additional legal or equitable relief as this Court may find just and
28                  proper.
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1                                 VIII. DEMAND FOR JURY TRIAL
2          Plaintiffs demand a trial by jury for all issues so triable.
3
4    Dated: March 23, 2017                   GIRARD GIBBS LLP
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